Case 4:19-cv-02033-YGR Document 298-3 Filed 09/09/22 Page 1 of 8




      EXHIBIT 102
                      Case 4:19-cv-02033-YGR Document 298-3 Filed 09/09/22 Page 2 of 8




                     Subject: Fwd: Sunday Tim Meeting Notes
                       From: "Kevan Parekh"
                Received(Date): Mon, 29 Oct 2018 12:13:35 +0000
                          To: "Gregory Joswiak"                 >
                 Attachment: Q1'19 Update 10.28.pdf
                        Date: Mon, 29 Oct 2018 12:13:35 +0000

               Hi Joz,

               Just got in from the red-eye! I thought it might be useful to give you some background
               ahead of your discussion with Tim today - we had a forecast review with Tim, Luca and
               Jeff yesterday. I’ve attached our deck for reference and if you wanted the voiceover I’m
               happy to do it anytime convenient for you (I’m sure you are busy with event related
               stuff). I’ve tried to summarize the key take-aways and some other points Tim asked us to
               dig into.

               Wide forecast range

               Overall, the big key assumption centers around XR, and our low case is driven more by
               a ramp / acceleration risk (based on early indicators) rather than a longer term demand
               statement (too early to make that call and we are still optimistic on the potential of the
               product). The ramp risk has a more pronounced impact on Q1 given limited weeks
               remaining in the quarter to compensate for a slower start. If one of the big drivers early
               on is people needing to see the product given the colors, new ID, etc. then we are more
               dependent on store traffic and in places where online sales have become a larger
               portion of sales that may create a further challenge. This is where marketing can help
               drive awareness and traffic. Some early feedback from the geos and Vinita’s team
               suggest that when people see the product and realize it’s a well spec’d product at a
               great price they are positively inclined.

               As a reminder our original likely UB forecast for XR against the 34M of supply was in the
               22M range (with unconstrained being higher - we were hoping for a up to a 20% growth
               over 8/8+ over the FY). Now our range is 14.6M (low) - 20M (likely).

               If you use the traditional extraps, it suggests an even worse outcome (10M - 13M per
               SDM) than our low and we don’t think our normal historical curves apply here since XR
               will cater to more of the non-early adopters from longer tenor / more price sensitive
               cohorts combined with the fact that people need to see this product more so than many
               others in the past. Therefore, we assumed demand could build over time and is
               supported by some of the upfront charts that suggest the buyer profile is one where the
               less than $700 cohorts of upgraders and new-to are even more important and show up
               over time. We know “new-to” has a profile that builds over time and so does entry hero
               capacity buyers. Given the reliance on new to, we are worried about the risk in Greater
               China (and to a lesser extent Europe) with the Huawei Mate 20 launch. They have
               priced aggressively in China with a 128GB entry point depending on the model (we have




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                      Case 4:19-cv-02033-YGR Document 298-3 Filed 09/09/22 Page 3 of 8




               a comparison chart in the China section and are still gathering European pricing).

               The low would be lower than anything we have seen in the past 4 years which i
               s also hard to imagine. The question is why wouldn’t customers buy something else.
               What’s hard to discern is what choices people who are entry hero buyers might make -
               i.e. would they mix up to the hero (we saw that even in installment markets like the US
               and Japan that wasn’t necessarily the case last year; in the US section we show the
               larger monthly delta for a 30month plan and for Japan the upfront Yen amount is high for
               XS relative to XR and even N-1 where we are seeing demand today) and/or would they
               mix down to 8/8+ - we don’t have enough data points (yet) to discern those trade-offs -
               so our wider range reflects some of that uncertainty. We also don’t have more 8/8+
               supply now - Donal and team are working on getting some back

               The attached deck is structured as follows:

               1) Macro considerations
                  - This was intended to outline factors we took into consideration with regards to our
               judgement on the forecast. There are some uncertainties that we hope to learn more
               about over time

               2) Installed Base insights
                   - This has a few slides from our weekly activation updates just to highlight the profiles
               of the types of buyers we are seeing between XS/XS Max and entry hero (using 8/8+
               from last year)
                   - Important to point out that XS has more multi-LOB early adopters who decelerate
               more over the quarter while XR will likely get more iPhone only and new-to which stay
               flat to build over the quarter (supports our back-end demand hypothesis)
                   - Then we also look at the larger % of lower price band and new to buyers per geo
               and that this increases over the quarter
                   - Finally, we show a slide to illustrate that X buyers seem to be more like entry hero
               buyers rather than N-1 buyers (which makes sense given the price point); this also
               supports the view that we should include X in our hero compares and that this may have
               taken some demand from XR - we’ll see what happens post launch

               3) Store traffic and daily detail
                  - Take away on store traffic is that XR isn’t driving the kind of lift pre/post launch that
               X or XS drives; again not surprising given it’s not an early adopter product; in some
               cases store traffic (also what we are hearing from channel partners) is down which isn’t
               helpful for a product that you need to see.

               4) Run-Chart Section
                   - We started with historical demand profiles - what’s interesting if you take out retail,
               reseller has had an incredibly tight profile and pattern over the years
                   - Retail is volatile and has either benefited when we’ve been in supply constraint
                  - This launch, since we are not really constrained, the retail forecast is projected to be
               down significantly. This may require a bit of voiceover - Then we show our run charts
               with our likely and low ranges (dotted orange and black respectively) and we’ve created




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                      Case 4:19-cv-02033-YGR Document 298-3 Filed 09/09/22 Page 4 of 8




               a couple of detailed tables below with Y/Y and the unit / mix detail. We have also added
               to the right a breakdown of performance Pre XR launch (wk 1-3), wk 4 actuals and QTG
               (which is post X launch from last year).
                  - For each geo we add in some of the consumer offer considerations

               Actions from the meeting
               Lastly, Tim asked us to work with the sales team to identify actions if needed. One of
               them was to consider offering X again in certain physical retail stores - I don’t think that
               really makes sense as 1) they can’t compete with the channel on price, 2) the benefit is
               likely small particularly if there isn’t a demo unit out and store staff only offer it as an
               option. Anyways wanted to give you a heads up in case it comes up so you can provide
               your input. Donal and team are working on supply actions as well.

               He mentioned he was going to speak to you guys about marketing plans. We are also
               working with the channel teams to get partners to add a concierge model for additional
               demo unit colors (as you know we only have 1 or 2 colors at partners POS), pushing
               Dakota updates sooner, etc.

               We are meeting with him again Wed morning and Friday

               Additional Thoughts:

               From Vinita - we are working on some more early reads. We will have round 2 of
               purchase intent next week and early buyer before thanksgiving. While we will get you
               highlights of those when they are ready, Plan is to comprehensively package up all of
               the learnings post thanksgiving.

               > I wanted to recap the XR specific learnings for you from the online anthropology.
               >
               > 1. XR conversations increased by 28%from middle of September to early October. In
               comparison, XS and XS Max increased 35% and 81% respectively! The good news is
               that XR did see an uptake and wasn’t that far behind the XS.
               > 2. While all 3 of them get compared to the X - the R gets compared to the 8 series the
               most.
               > 3. LCD is a point of discussion for the XR - just as much as the color offering.
               Consumers understand that OLED is better than LCD, but can’t really grasp how
               “noticeable” it is. They will check out the “disparity” now that phones are in the store
               > 4. Overall, sentiment for all features is positive. The display is posi
               tive and has increased from middle of September to early October - 10.2% to 23.6%.
               > 5. The overall, intender conversations were lowest for XR - and they stayed stable at
               13.6% compared to 23.2% and 44.8% for XS and XS Max respectively
               >
               > Net, the XR wasn’t really a conversation starter, and/or an early adopter product.
               Also, this is one product that consumers really need to see and compare to truly grasp
               the disparity before deeming it worth the price.>
               > I will let you know if there is any new information in the call at 5 beyond the email Faiz
               sent earlier. I will have some flash poll results tomorrow (likely) to see how many people




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                      Case 4:19-cv-02033-YGR Document 298-3 Filed 09/09/22 Page 5 of 8




               claim to know anything about the XR - to your question about the XR.
               >
               > We could potentially also do a flash poll PI. I have an earlier version of this which has
               two interesting findings; XR was the only model whose PI did not go down after the
               $749 price point was shown, and XR’s PI actually increased by 9% points (and was
               higher than XS and XS Max) when consumers were told that it was an upgraded but
               more budget friendly phone. Net, we may need to make people aware of what the XR is -
                because the audience for this phone is not as engaged in this category, and may
               require more active communication.
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               We’ll send the early geo feedback from the weekend later today.

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                        Case 4:19-cv-02033-YGR Document 298-3 Filed 09/09/22 Page 6 of 8




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                        Case 4:19-cv-02033-YGR Document 298-3 Filed 09/09/22 Page 7 of 8




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                      Case 4:19-cv-02033-YGR Document 298-3 Filed 09/09/22 Page 8 of 8




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